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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             Case No. 21-10016-CR-GAYLES


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  DAVIEL GONZALEZ RODRIGUEZ,

              Defendant.
  __________________________________/


             REPORT AND RECOMMENDATION ON CHANGE OF PLEA

        This matter was before the Court following on Order of Reference to conduct a

  proceeding for acceptance of a guilty plea by the Defendant in the case. The Court

  having conducted a change of plea hearing on this date, March 15, 2022, it is

  recommended that the Defendant’s change of plea be accepted for the following

  reasons:

        1.    The Court convened a hearing to permit the Defendant to enter a change

  of plea in the aforementioned matter. At the outset of the hearing, Defendant was

  advised of his right to have these proceedings conducted by the District Judge

  assigned to the case.     Further, the Defendant was advised that this Court was

  conducting the change of plea hearing on an Order of Reference from the District

  Court and at the request of the Defendant, the Defendant’s attorney and the

  Assistant United States Attorney assigned to this case. The Court further advised
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  the Defendant that the District Judge assigned to this case would be the sentencing

  judge and would make all findings and rulings concerning the Defendant’s sentence

  and would conduct a sentencing hearing at a time set by the District Court.

        2.      The Defendant was made aware that he did not have to permit the

  undersigned United States Magistrate Judge to conduct this hearing and could

  request that the change of plea hearing be conducted only by a United States District

  Judge. The Defendant, the Defendant's attorney and the Assistant United States

  Attorney assigned to the case all agreed on the record and consented to this Court

  conducting the change of plea hearing.

        3.      The Court conducted a plea colloquy in accordance with Fed. R. Crim. P.

  11.

        4.      The Defendant pleaded guilty to Count 65 of the indictment, charging

  him with illegal reentry by a removed alien, in violation of Title 8, United States

  Code, 1326.     The Defendant entered an open plea to Count 65. The Court reviewed

  with Defendant the essential elements of the offense and the possible maximum

  sentence that could be imposed on that Count, as well as his understanding of the

  consideration of the Sentencing Guidelines that may apply in the case.               The

  Defendant acknowledged that he understood these possible penalties and

  consequences.

        5.      The Court also reviewed with Defendant the government’s factual

  proffer, filed as Exhibit A to the hearing, to assure that a factual basis existed for the
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  entry of the plea.    The Defendant assented to the accuracy of the proffer and

  Defendant acknowledged his knowing participation in the offense.

           6.   Based upon all of the foregoing and the plea colloquy conducted by this

  Court, it is recommended that the Defendant be found to have freely and voluntarily

  entered his guilty plea as more particularly described herein and that the Defendant

  be adjudicated guilty of the offense charged.

           7.   A pre-sentence investigation is being prepared. Sentencing shall be set

  by separate Order and is now scheduled for May 19, 2022, at 10:00 a.m.

           ACCORDINGLY, this Court recommends that the Defendant’s plea of guilty

  be accepted, the Defendant be adjudicated guilty as to Count 65 of the indictment to

  which he has entered his plea of guilty, and that a sentencing hearing be conducted

  for final disposition of this matter. The parties shall have five (5) days from the date

  of this Report and Recommendation within which to file objections, if any, with the

  Honorable Darrin P. Gayles, United States District Judge. Failure to file timely

  objections waives a party’s right to review issues related to the Defendant’s plea

  under Fed. R. Crim. P. 11 before the District Judge or the Court of Appeals (even

  under a plain error standard).   See Fed. R. Crim. P. 59(b)(1), (2); Thomas v. Arn, 474

  U.S. 140 (1985); United States v. Lewis, 492 F.3d 1219, 1222 (11th Cir. 2007) (en

  banc).

           DONE AND SUBMITTED this 15th day of March, 2022, at Miami, Florida.




                                                    /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge
